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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,
                        Plaintiff,
                                                         MOTION TO SET SCHEDULE FOR
                     - against -                         SENTENCING POSITION PAPERS

 TERRY ALBURY,                                                     18-CR-67 (WMW)
                                     Defendant.


       PLEASE TAKE NOTICE THAT counsel for the United States and Terry Albury

jointly move the Court to set the following schedule for briefing on sentencing issues:

       1.        The parties’ sentencing position papers should be filed on or before October 1,

2018; and

       2.        Responses to opposing counsel’s papers (if any) should be filed on or before

October 5, 2018.

       3.        This briefing schedule is requested to ensure that the parties have sufficient time

to review the final presentence report issued on July 26, 2018, and fully brief all matters relevant

to sentencing.

       Respectfully Submitted, August 8, 2018

       UNITED STATES OF AMERICA                                MURRAY LAW, LLC

       By: s/Danya E. Atiyeh                                   By: s/JaneAnne Murray

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